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                       Exhibit 1

           Cash Management System Schematic
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                       Exhibit 2

                     Bank Accounts
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No.   Entity           Bank Name             Last Four        Account Type
                                             Digits of
                                             Account No.
1     Bittrex, Inc.    Customers Bank        3217             Operating Account
2     Bittrex, Inc.    Customers Bank        0675             OTC Account
3     Bittrex, Inc.    Customers Bank        2017             FBO Account
4     Bittrex, Inc.    United Texas Bank     2423             Dormant Account
5     Bittrex, Inc.    Prime Trust Bank      4450             FBO Account
6     Bittrex, Inc.    Prime Trust Bank      1241             Reserve Account
7     Bittrex, Inc.    Goldman Sachs         2601             Dormant Account
